Case 1:23-cv-00108-LMB-JFA Document 357-3 Filed 08/30/23 Page 1 of 5 PageID# 5318




                          EXHIBIT 3
                      FILED UNDER SEAL




          FILED PURSUANT TO COURT ORDER DOC. 354
Case 1:23-cv-00108-LMB-JFA Document 357-3 Filed 08/30/23 Page 2 of 5 PageID# 5319




                                                      Liberty Square Building
                                                      450 5th Street, N.W.
                                                      Washington, DC 20530


                                                      June 9, 2023

     CONFIDENTIAL

      Martha Goodman, Esq.                          Scott Eisman, Esq.
      Heather Milligan, Esq.                        Claire Leonard, Esq.
      Paul, Weiss, Rifkind, Wharton &               Freshfields Bruckhaus Deringer LLP
      Garrison LLP                                  700 13th Street, NW
      2001 K Street, NW                             Washington DC 20005-3950
      Washington, DC 20006-1047


                     Re:   United States, et al. v. Google LLC, No. 1:23-cv-108 (E.D. Va.)

     Dear Counsel:

     I write regarding the logging of privileged documents in relation to the United States’
     production of its investigatory file as well as documents responsive to Google’s Request
     for Production No. 5.

     Several categories of documents related to the United States’ investigation preceding this
     litigation are exempted from privilege logging under Paragraph V.8. of the Order
     Regarding Electronically Stored Information (“ESI Order”) (Dkt. No. 142), in particular
     subparagraphs b., c., and e. For the remaining privileged documents—communications
     within the federal government but not “solely between counsel for the United States . . .
     and counsel for any Federal Agency Advertiser”—the United States believes that the
     burden of individually logging such communications is not reasonable or proportionate to
     the needs of the case. Therefore, the United States requests to provide a categorical
     privilege log for these documents, and requests to meet and confer, pursuant to Paragraph
     V.4 of the ESI Order.

     In the Appendix to this letter, the United States has prepared a categorical privilege log
     assertion for these documents. This categorical assertion provides Google with both
     (1) sufficient information to evaluate the privilege claims and (2) all non-privileged
     information associated with the communications that may be relevant to the claims and
     defenses in this case, including, for example, the attorney and non-attorney senders and
     recipients, the time frame, and the general subject matter of the communications.




            FILED PURSUANT TO COURT ORDER DOC. 354
Case 1:23-cv-00108-LMB-JFA Document 357-3 Filed 08/30/23 Page 3 of 5 PageID# 5320

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     We are available to meet and confer at your convenience.

                                                        Sincerely,

                                                        /s/ Michael Wolin

                                                        Michael Wolin
                                                        Trial Attorney
     Enclosure




                                                2

           FILED PURSUANT TO COURT ORDER DOC. 354
Case 1:23-cv-00108-LMB-JFA Document 357-3 Filed 08/30/23 Page 4 of 5 PageID# 5321

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         Appendix: United States’ Categorical Privilege Log Assertion (June 9, 2023)

     The United States claims privilege over communications between attorneys of the
     Antitrust Division and attorneys and employees of other agencies and divisions of the
     federal government related to the Antitrust Division’s investigation of purchases of
     digital advertising by the United States that preceded this litigation.

           The custodian of these communications is the Antitrust Division of the
            Department of Justice.

           The senders and recipients of these communications are attorneys or other
            employees of the Antitrust Division of the Department of Justice; Department of
            Commerce; Department of Defense; Department of Health and Human Services;
            General Services Administration; Office of Justice Programs of the Department of
            Justice; Office of Management and Budget; Office of Personnel Management; and
            U.S. Postal Service. Specifically:

                o Antitrust Division of Department of Justice
                      Barry Creech, Esq.
                      Chase Pritchett, Esq.
                      Daniel Dorris, Esq.
                      George Nierlich, Esq.
                      Giancarlo Ambrogio, Esq.
                      Jacklin Lem, Esq.
                      MaryMichael Hough
                      Michael Wolin, Esq.
                      Natalie Hayes, Esq.
                o Department of Commerce
                      Kendall Johnson
                      Melissa Creech, Esq.
                      Michael Cannon, Esq.
                o Department of Defense
                      Brendan Ricci
                      James Wessels
                      Julio Alvarez
                      Sivram Prasad, Esq.
                o Department of Health and Human Services
                      Catherine Howden
                      Christopher Koepke
                      Kenneth Whitley, Esq.
                      William Charles Bailey, Esq.
                o General Services Administration
                      Arpit Garg, Esq.
                o Office of Justice Programs of Department of Justice
                      Sasha Rutizer, Esq.
                o Office of Management and Budget
                      Adam Grogg, Esq.
                      Shraddha Upadhyaya, Esq.
                                               3

            FILED PURSUANT TO COURT ORDER DOC. 354
Case 1:23-cv-00108-LMB-JFA Document 357-3 Filed 08/30/23 Page 5 of 5 PageID# 5322

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               o Office of Personnel Management
                     Webb Lyons, Esq.
               o U.S. Postal Service
                     Brian Pasco
                     Christopher Karpenko
                     Colleen Ehrlich
                     Kimberly Workinger
                     Maria Votsch, Esq.
                     Matthew Gardner
                     Michael Bottenberg
                     Michael Weaver, Esq.
                     Stephan Boardman, Esq.

           Each of these communications includes as a sender or recipient at least one of the
            Antitrust Division attorneys listed above.

           The time frame for these communications is December 23, 2022 through January
            23, 2023.

           The general subject matter for these communications is purchases of digital
            advertising by agencies and divisions of the federal government.

           These communications are subject to the attorney-client privilege; attorney work
            product protection; and deliberative process privilege, as follows:

               o These communications were made by or to counsel for the United States
                 in the course of their providing legal advice regarding potential violations
                 of Sections 1 and 2 of the Sherman Act and Section 4A of the Clayton
                 Act.

               o These communications were made in anticipation of litigation against
                 Google for violations of Sections 1 and 2 of the Sherman Act and Section
                 4A of the Clayton Act.

               o These communications were made by or to staff in the Antitrust Division
                 in the course of their providing recommendations and opinions to Antitrust
                 Division leadership on whether to file a case against Google for violations
                 of Sections 1 and 2 of the Sherman Act and Section 4A of the Clayton
                 Act. The communications reflect internal deliberations, and any purely
                 factual material is inextricably intertwined with the deliberative material.




                                                 4

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